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  9                         UNITED STATES DISTRICT COURT

 10                       CENTRAL DISTRICT OF CALIFORNIA

 11                                  WESTERN DIVISION
 12
 13    OX LABS INC., a California                  Case No. CV 18-5934-MWF(KSx)
       Corporation,
 14                                                JOINT STATUS REPORT
 15                Plaintiff,                      REGARDING SETTLEMENT

 16                       vs.                      Pretrial Conf: Nov. 18, 2019
                                                   Trial: Dec. 3, 2019
 17    BITPAY, INC., a Delaware
       Corporation, and Does 1-10,
 18
 19                Defendants.
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 21
 22         Pursuant to the Court’s Order re Jury Trial (Dkt 22), Plaintiff Ox Labs Inc.
 23   (“Ox Labs”) and Defendant Bitpay, Inc. (“Bitpay”) participated in a settlement
 24   conference on September 13, 2019, conducted by the Honorable Karen L.
 25   Stevenson. The parties negotiated in good faith, but they were unable to reach a
 26   settlement at the settlement conference.
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      JOINT STATUS REPORT RE: SETTLEMENT
      Case No. CV 18-5934-MWF(KSx)
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  1         Counsel for the parties further discussed settlement during their Local Rule
  2   16-2 conference on October 7, 2019, and again telephonically on October 17, 2019,
  3   but they were unable to reach a settlement.
  4         At present, the parties do not believe settlement is likely pending further
  5   rulings of the Court and/or trial of the matter.
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      Case No. CV 18-5934-MWF(KSx)
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  1                         I.     CERTIFICATE OF SERVICE
  2         I certify that counsel of record, listed below, is being served on October 28,
  3   2019, with a copy of this document through the CM/ECF Filing System as identified
  4   on the Notice of Electronic Filing dated October 28, 2019.
  5
                                                                   /s/ Anahit Samarjian
  6                                                                Anahit Samarjian
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      Case No. CV 18-5934-MWF(KSx)
